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                                  September 30, 2020

                                                                                    ALEXANDER HADJIS
                                                                                     (703) 413-3000
                                                                                   AHADJIS@OBLON.COM
VIA ECF:

Honorable Alan D. Albright
U.S. District Judge
800 Franklin Avenue, Room 301
Waco, TX 76701


                    Re: MV3 Partners LLC v. Roku, Inc.,
                        6:18-CV-308, U.S. District Court for the W.D. of Texas


Your Honor:

      Roku is submitting this letter to inform the Court and MV3 Partners
that Roku has decided that it will not go forward with its invalidity and
inequitable conduct defenses. This decision was made to streamline and
simplify the issues that will be presented at trial and to simplify and
streamline the case in general. We are available in the event the Court has
any questions.

                                               With best regards,

                                               OBLON, McCLELLAND,
                                                MAIER & NEUSTADT, L.L.P.

                                               /s/ Alexander J. Hadjis




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